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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION


PAUL L. MCGEE                                             :
                                                          :
                  Plaintiff(s)                            :
                                                          :    Case Number: 1:06CV726
         vs.                                              :
                                                          :    District Judge Susan J. Dlott
CITY OF CINCINNATI POLICE
DEPARTMENT, ET AL.                                        :
                                                          :
                  Defendant(s)                            :

                                      JUDGMENT IN A CIVIL CASE


        Decision by Court: This action came to trial or hearing before the Court. The issues have
been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED

. . . that Defendants’ Motion to Dismiss (doc. 12) is GRANTED. The Court DISMISSES
WITH PREJUDICE all of Plaintiff’s federal civil rights claims brought under 42 U.S.C. §
1983, and DISMISSES WITHOUT PREJUDICE Plaintiff’s remaining state law claims.




4/18/07                                                                 JAMES BONINI, CLERK


                                                                         S/William Miller
                                                                        Deputy Clerk


Pursuant to S. D. Ohio Civ. R. 79.2(a) and (b), all models, diagrams, depositions, photographs, x-rays and other
exhibits and materials filed or offered in evidence shall be withdrawn by counsel without further Order within six (6)
months after final termination of the action. All materials not withdrawn shall be disposed of by the Clerk as waste.
